                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                        DOCKET NO. 5:09-CR-00026-RLV-DSC


 UNITED STATES OF AMERICA,                        )
                                                  )
                                                  )
                                                  )
 v.                                               )                   ORDER
                                                  )
 DARAY ROMEZ WALLER,                              )
                                                  )
                  Defendant.                      )



       THIS MATTER is before the Court on “Motion for Admission Pro Hac Vice and

Affidavit [for Katryna Lyn Spearmant]” (document # 53) filed October 14, 2020. For the reasons

set forth therein, the Motion will be granted.


       The Clerk is directed to send copies of this Order to counsel for the parties and to the

Honorable Richard L. Voorhees.


       SO ORDERED.


                                           Signed: October 18, 2020




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